            Case 19-42886          Doc 88     Filed 11/17/19 Entered 11/17/19 18:29:03                  Desc Main
                                                Document     Page 1 of 6


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        Proposed Counsel for the Debtors
        and Debtors in Possession


                                 IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

            In re:                                                   § Chapter 11
                                                                     §
            ZENERGY BRANDS, INC., et al., 1                          § Case No. 19-42886
                                                                     §
                             Debtors.                                § (Jointly Administered)


                      AMENDED NOTICE OF AGENDA OF MATTERS SET FOR HEARING
                          ON NOVEMBER 18, 2019 AT 1:30 P.M. (CENTRAL TIME)

                     Zenergy Brands, Inc. and its debtor affiliates in the above-captioned chapter 11 cases, as

        debtors and debtors in possession (collectively, the “Debtors”), file their Amended Agenda of

        Matters Set for Hearing on November 18, 2019 at 1:30 p.m. (Central Time) before the Honorable



        1
                  The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s
        federal tax identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs,
        LLC (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc.
        (4022); and Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy,
        #200, Plano, TX 75024.

4847-6291-5501.2
           Case 19-42886     Doc 88     Filed 11/17/19 Entered 11/17/19 18:29:03           Desc Main
                                          Document     Page 2 of 6



        Brenda T. Rhoades at the United States Bankruptcy Court for the Eastern District of Texas, Suite

        300B, 660 North Central Expressway, Plano, TX 75074.

             1.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
                      to (A) Maintain Existing Insurance Coverage and Existing Insurance Premium
                      Financing Agreements, (B) Satisfy All Prepetition Obligations Related to That
                      Insurance Coverage in the Ordinary Course of Business, and (C) Renew,
                      Supplement, or Enter into New Insurance Coverage in the Ordinary Course of
                      Business, and (II) Granting Related Relief [DE 7].

                      Related Documents:

                          a. Declaration in Support of Chapter 11 Petitions [DE 10].

                          b. Certificate of Service regarding DE 7 and DE 10 [DE 30].

                          c. Supplemental Notice of Hearing on Certain “First-Day” Matters [DE 43].

                          d. Certificate of Service regarding DE 34, DE 43 and DE 44 [DE 45].

                          e. Interim Order (I) Authorizing The Debtors To (A) Maintain Existing Insurance
                             Coverage And Existing Insurance Premium Financing Agreements, (B) Satisfy
                             All Prepetition Obligations Related To That Insurance Coverage In The
                             Ordinary Course Of Business, And (C) Renew, Supplement, Or Enter Into New
                             Insurance Coverage In The Ordinary Course Of Business, And (II) Granting
                             Related Relief [DE 60].

                          f. Certificate of Service regarding Interim Order entered related to DE 7 filed
                             as DE 60 [DE 72].

                          g. Exhibit and/or Witness List filed by Official Unsecured Creditors
                             Committee [DE 81].

                          h. Exhibit and/or Witness List filed by Debtors [DE 83].

                      Status: This matter is going forward.


             2.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment
                      of Certain Prepetition Taxes and Fees and (II) Granting Related Relief [DE 8].

                      Related Documents:

                          a. Declaration in Support of Chapter 11 Petitions [DE 10].

                          b. Certificate of Service regarding DE 8 and DE 10 [DE 30].
                                                       2
4847-6291-5501.2
           Case 19-42886   Doc 88    Filed 11/17/19 Entered 11/17/19 18:29:03           Desc Main
                                       Document     Page 3 of 6




                       c. Supplemental Notice of Hearing on Certain “First-Day” Matters [DE 43].

                       d. Certificate of Service regarding DE 34, DE 43 and DE 44 [DE 45].

                       e. Exhibit and/or Witness List filed by Official Unsecured Creditors
                          Committee [DE 81].

                       f. Exhibit and/or Witness List filed by Debtors [DE 83].

                    Status: This matter is going forward.

             3.     Debtors’ Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
                    the Debtors to Obtain Postpetition Financing, Granting Senior Postpetition Security
                    Interests and According Superpriority Administrative Expense Status Pursuant to
                    Sections 364(c) and 364(d) of the Bankruptcy Code; (II) Authorizing the Use of
                    Cash Collateral; (III) Granting Adequate Protection; (IV) Modifying the Automatic
                    Stay; and (V) Granting Related Relief [DE 19].

                    Related Documents:

                       a. Declaration in Support of Chapter 11 Petitions [DE 10]

                       b. Certificate of Service regarding DE 10 and DE 19 [DE 30].

                       c. Supplemental Notice of Hearing on Certain “First-Day” Matters [DE 43].

                       d. Certificate of Service regarding DE 34, DE 43 and DE 44 [DE 45].

                       e. Interim Order Pursuant To 11 U.S.C. §§ 105, 361, 362, 363, 364 And 507
                          (I) Approving Postpetition Financing, (II) Authorizing Use Of Cash
                          Collateral, (III) Granting Liens And Providing Superpriorityadministrative
                          Expense Status, (IV) Granting Adequate Protection, (V) Modifying
                          Automatic Stay, And (VI) Granting Related Relief, And (Vii) Scheduling
                          A Final Hearing [DE 61].

                       f. Certificate of Service regarding Interim Order entered related to DE 19
                          entered as DE 61 [DE 72].

                       g. Exhibit and/or Witness List filed by Official Unsecured Creditors
                          Committee [DE 81].

                       h. Exhibit and/or Witness List filed by Debtors [DE 83].

                       i. Official Committee Of Unsecured Creditors' Objection To Debtors' Motion
                          To Obtain Debtor-In-Possession Financing [DE 85].

                                                     3
4847-6291-5501.2
           Case 19-42886   Doc 88    Filed 11/17/19 Entered 11/17/19 18:29:03          Desc Main
                                       Document     Page 4 of 6



                       j. Exhibit A - Summary Identifying Provisions Of Debtors' Proposed Dip
                          Facility That Are Generally Disfavored Under This Court's Local Rules [DE
                          86].

                    Status: This matter is going forward.

             4.     Debtors’ Amended Emergency Motion for Entry of Interim and Final Orders,
                    Pursuant to Sections 105(a), 362(a)(3), and 541 of the Bankruptcy Code and
                    Bankruptcy Rule 3001, Establishing Notice and Hearing Procedures for Trading In,
                    or Certain Claims of Worthlessness with Respect to, Equity Securities in Debtor
                    Zenergy Brands, Inc. [DE 44].

                    Related Documents:

                       a. Debtors’ Emergency Motion for Entry of Interim and Final Orders,
                          Pursuant to Sections 105(a), 362(a)(3), and 541 of the Bankruptcy Code and
                          Bankruptcy Rule 3001, Establishing Notice and Hearing Procedures for
                          Trading In, or Certain Claims of Worthlessness with Respect to, Equity
                          Securities in Debtor Zenergy Brands, Inc. [DE 34].

                       b. Declaration in Support of Chapter 11 Petitions [DE 10].

                       c. Certificate of Service regarding DE 10 [DE 30].

                       d. Certificate of Service regarding DE 34 [DE 38].

                       e. Certificate of Service regarding DE 34, DE 43 and DE 44 [DE 45].

                       f. Interim Order, Pursuant To Sections 105(A), 362(A)(3), And 541 Of The
                          Bankruptcy Code And Bankruptcy Rule 3001, Establishing Notice And
                          Hearing Procedures For Trading In, Or Certain Claims Of Worthlessness
                          With Respect To, Equity Securities In Debtor Zenergy Brands, Inc. [DE
                          58].

                       g. Certificate of Service regarding Interim Order entered related to DE 34 as
                          DE 58 [DE 72].

                       h. Certificate of Service regarding Notice of Entry of Interim Order, Pursuant
                          to Sections 105(a), 362(a)(3), and 541 of the Bankruptcy Code and
                          Bankruptcy Rule 3001, Establishing Notice of Hearing Procedures for
                          Trading in, or Certain Claims of Worthlessness with Respect to, Equity
                          Securities in Debtor Zenergy Brands, Inc. (Exhibit A-6 of DE 34) [DE 76].

                       i. Exhibit and/or Witness List filed by Official Unsecured Creditors
                          Committee [DE 81].


                                                    4
4847-6291-5501.2
           Case 19-42886    Doc 88     Filed 11/17/19 Entered 11/17/19 18:29:03        Desc Main
                                         Document     Page 5 of 6



                         j. Exhibit and/or Witness List filed by Debtors [DE 83].

                      Status: This matter is going forward.


                                                     Respectfully Submitted,
           Dated: November 17, 2019

                                                     /s/ Marcus A. Helt
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                                                     Proposed Counsel for the Debtors and Debtors in
                                                     Possession




                                                      5
4847-6291-5501.2
           Case 19-42886     Doc 88    Filed 11/17/19 Entered 11/17/19 18:29:03          Desc Main
                                         Document     Page 6 of 6



                                       CERTIFICATE OF SERVICE

               I certify that on November 17, 2019, I caused a copy of the foregoing document to be
        served by the Electronic Case Filing System for the United States Bankruptcy Court for the
        Eastern District of Texas.

                                                    /s/ Marcus A. Helt
                                                    Marcus A. Helt




                                                       6
4847-6291-5501.2
